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UNITED STATES DISTRICT COURT 05 A
WESTERN DISTRICT OF TENNESSEE UG 15 A?‘i 82 02
Western Division _. _

UNITED STATES OF AMERICA

 

-vs- Case No. 2:0501‘20281»D

RICKY HUGHES

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Aecordingly,
the Court makes the following appointment pursuant to the Crirninal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this l 5 day of August,

T’U M. PHAM
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

RICKY HUGHES

Tn|s document entered on the docket sheet in compliance
with ama ; ar».:/or aa(b) FRCrP on _w f »'Lo~£):’>

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20281 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

PDA

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Honorable Bernice Donald
US DISTRICT COURT

